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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA

KEVIN HOOG, on behalf of                  )
himself and all others                    )
similarly situated,                       )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )        Case No. CIV-16-463-RAW
                                          )
PETROQUEST ENERGY, L.L.C.;                )
WSGP GAS PRODUCING, L.L.C.;               )
and TRINITY OPERATING (USG),              )
L.L.C.                                    )
                                          )
                  Defendants.             )


                                  O R D E R

       This matter comes before the Court on Plaintiff’s Motion to

Compel    Compliance     with   ESI   Order,       for   Sanctions,   and    for

Appointment of a Special Master (Docket Entry #249) and Defendants’

Motion to Strike Motion to Compel Compliance with ESI Order, for

Sanctions, and for Appointment of a Special Master (Docket Entry

#256). These Motions were referred to the undersigned for final

determination by presiding United States District Judge Ronald A.

White.

       On March 25, 2021, Judge White entered an Order Regarding

Discovery      Including     Production       of     Electronically     Stored

Information (Docket Entry #201) (“ESI Order”), governing not only

the production of ESI between Plaintiff Kevin Hoog (“Plaintiff”)

and Defendants Trinity Operating (USG) (“Trinity”) and WSGP Gas
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Producing,        LLC    (“WSGP”)     (collectively      referred    to    as

“Defendants”), but also pertaining to the production of hard copy

documents. The ESI Order directed the parties to “meet and confer

in good faith to discuss the potential production of ESI in this

Litigation including custodians and the use of narrowly tailored

search terms, date restrictions, and other data filters to reduce

the number of Documents for collection, review and production.”

Docket Entry #201, p. 3, ¶ I(H). The ESI Order included certain

deadlines related to the production of ESI, particularly search

terms to utilize when searching for responsive email. The parties

were to complete the meet and confer process, including the

discussion of search terms, by April 17, 2021, and the deadline

“for       substantial   completion   of   production   of   responsive   non-

privileged ESI not otherwise subject to objections resulting from

the [m]eet and [c]onfer” was May 17, 2021. Id., p. 4, ¶ I(J). The

parties agreed that Defendants would not be required to reproduce

information and/or documents in this action that had previously

been produced by Defendants in Philip Lee v. PetroQuest Energy,

LLC, et al., Case No. CIV-16-516-RAW. Id., p. 1, I(A). Documents

were to be produced “on a rolling basis.” Id., p. 4, II(A).1


       1   As an initial matter, upon review of the parties’
filings, including the several email exhibits, it is clear the
parties have been debating for months by email and other remote
means various discovery matters in the case, including the search
terms that the ESI Order required be agreed upon in April of 2021,
with the actual production of responsive documents to begin by
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       The Court addresses the parties’ filings and arguments as

follows:

1.     Defendants’ Motion to Strike

       In addition to responding to Plaintiff’s Motion to Compel,

Defendants filed a separate Motion to Strike. Defendants request

that Plaintiff’s Motion be stricken because it is based upon a

misrepresentation to the Court that Defendants have never produced

email responsive to the Hoog search terms. Defendants contend that

they have provided emails responsive to the search terms.

       A review of the parties’ emails indicates that on June 21,

2021,    Defendants’     counsel     stated        that     they    expected        “the

responsive,      non-privileged      email    not         otherwise       subject    to

objections that met Defendants’ counterproposal in Lee to be

produced in the next 7 to 10 days. A status update on Hoog will be

provided.”     Docket   Entry    #249-8,     pp.    2-3.     On    July    22,   2021,

Defendants     responded    to   a   letter    from        Plaintiff’s       counsel,




mid-May of 2021. While this Court does not condone the long periods
of time and often nonresponsive emails from Defendants’ counsel in
response to attempts by Plaintiff’s counsel to discuss search terms
and the production of email, this Court likewise cannot condone
Plaintiff’s waiting until the end of August of 2021 to bring issues
with Defendants’ compliance to the Court’s attention, especially
if Plaintiff believed the information was pertinent to his class
certification motion. It is also apparent from the email exchanges
and the briefing that the parties have approached a level of
communication with one another that borders on the unprofessional.
This Court expects a high degree of professionalism by counsel not
only with the Court but with each other.

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indicating they had produced responsive ESI on July 12, 2021,

including email in the Hoog matter. Docket Entry #249-11, p. 1.

Defendants assert Trinity produced a flash drive to Plaintiff on

July 9, 2021, which included documents responsive to search terms

in both Lee and Hoog. The package containing the production was

signed for on July 12, 2021. Defendants’ Motion to Strike, pp. 2-

4 (Docket Entry #256); Docket Entry #256-1, #256-2, #256-4.

     The attached emails show that Defendants produced documents

responsive primarily in the Lee matter (which they were not even

required to do under the ESI Order), and the emails had some

overlap of search terms with Hoog. Defendants do not deny there is

additional responsive email to produce in Hoog, instead insisting

that because an agreement on terms, custodians, and a date range

was not reached, the deadlines in the ESI Order were not triggered.

Even if Defendants produced some email which overlapped with Lee,

this does not warrant striking Plaintiff’s Motion in Hoog.

     Defendants also raise several other issues in their Motion to

Strike, which more appropriately should have been included in their

response   to   Plaintiff’s   Motion.   Thus,   after   consideration      of

Defendants’ Motion to Strike, and based upon this Court’s decision

herein, the Court determines the Motion to Strike should be denied.




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2.      Plaintiff’s Motion to Compel, Motion for                         Sanctions,      and
        Request for Appointment of a Special Master

        Plaintiff contends Defendants have failed to comply with the

ESI    Order,          as   Defendants    never   produced       email      responsive    to

Plaintiff’s            proposed    search   terms,    or    even      the    search   terms

proposed          by    Defendants.      Plaintiff    seeks      an   order       compelling

Defendants to comply with the ESI Order, and as a sanction for

noncompliance, Plaintiff requests the rejection of Defendants’

limitations on search terms. To decide these issues and oversee

the further discovery of ESI, Plaintiff requests the Court appoint

a    special       master      under   Federal    Rule     of    Civil      Procedure    53,

suggesting the Court’s involvement with determining search terms

could        be        “time-intensive.”     Plaintiff          suggests      a    specific

individual to serve as special master, and he contends Defendants

have failed to suggest anyone.

        In    response        to   Plaintiff’s       request,      Defendants       contend

Plaintiff failed to confer with them about requesting a special

master prior to filing his Motion. Defendants also assert that

earlier in the discovery process, they suggested the parties split

the cost of a special master, and Plaintiff exhibited no interest

in doing so.

        Federal Rule of Civil Procedure 53 allows for a court to

appoint a master to “(A) perform duties consented to by the

parties; . . . or (C) address pretrial and posttrial matters that


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cannot be effectively and timely addressed by an available district

judge or magistrate judge of the district.” Fed. R. Civ. P. 53

(a)(1)(A&C). The Rule requires that “[b]efore appointing a master,

the court must give the parties notice and an opportunity to be

heard[,]” and “must consider the fairness of imposing the likely

expenses on the parties and must protect against unreasonable

expense or delay.” Fed. R. Civ. P. 53(a)(3), (b)(1). “Any party

may     suggest   candidates    for    appointment[,]”    Fed.    R.   Civ.   P.

53(b)(1), but “[a] master must not have a relationship to the

parties,      attorneys,     action,    or     court   that    would   require

disqualification of a judge under 28 U.S.C. § 455, unless the

parties, with the court’s approval, consent to the appointment

after      the    master    discloses        any   potential     grounds      for

disqualification.” Fed. R. Civ. P. 53(a)(2).

        Although the Court agrees with Defendants that Plaintiff did

not confer regarding the request for a court-appointed special

master prior to filing his Motion, it appears both parties have

considered the option of requesting a special master under Rule

53. Rule 53 allows for a special master to be appointed to “perform

duties consented to by the parties[.]” Therefore, based upon

Defendants’ prior request and Plaintiff’s current request, the

Court directs the parties to confer and determine whether they

agree on the need for a special master to oversee pending and

future production of ESI and/or other discovery in the case. If

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so, the parties should determine (1) whether they can reach an

agreement on an individual for the Court to consider as a special

master, (2) whether they can agree to jointly compensate a special

master if appointed by the Court, and (3) whether they can agree

on a proposed order appointing a special master to include the

contents described in Rule 53(b)(2). After conferring on these

issues, the parties should jointly file a report to the Court

within ten (10) days of the date of this Order, indicating the

results of their conference on the above designated issues.

     If the parties cannot agree, the Court will address the

discovery   issues   set    forth     in       Plaintiff’s   Motion.   To   decide

Plaintiff’s   Motion,      however,    the       Court   will   need   additional

information from the parties. For example, although both parties

have attached spread sheets of their search term proposals, neither

party provided detailed argument regarding the reasons certain

search   terms,   etc.,     should     be        included/excluded.     Moreover,

although Plaintiff explains that he disagrees with the narrowing

of the search terms by Defendants, the date range imposed by

Defendants, and the exclusion of certain custodians, he provides

no specifics on what he proposes. Defendants likewise provide

mostly general objections. If necessary, the Court will direct the

parties to provide such additional information at a later date.

     IT IS THEREFORE ORDERED that Defendants’ Motion to Strike

Motion to Compel Compliance with ESI Order, for Sanctions, and for

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Appointment of a Special Master (Docket Entry #256) is hereby

DENIED. Plaintiff’s Motion to Compel Compliance with ESI Order,

for Sanctions, and for Appointment of a Special Master (Docket

Entry #249) is hereby held in ABEYANCE, as the parties have been

directed to jointly file a report with the Court within ten (10)

days, or by NOVEMBER 15, 2021, regarding the possible appointment

of a special master in the case. In light of this Court’s Order,

if deemed necessary by Plaintiff, he may seek appropriate relief

from Judge White regarding his previously filed motion for class

certification.

     IT IS SO ORDERED this 5th day of November, 2021.




                                  _____________________________
                                  KIMBERLY E. WEST
                                  UNITED STATES MAGISTRATE JUDGE




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